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                                        STATEMENT OF FACTS

        Your affiant, Evan Kalaher, is a Special Agent with the Federal Bureau of Investigation
(FBI) and I have been employed in that capacity January 2018. I am currently assigned to the
Providence, Rhode Island Resident Agency, which is part of the Boston Field Division. Prior to
my current position, I was assigned to Boston Divisions Organized Crime Drug Enforcement Task
Force (OCDETF) where I concentrated on investigating complex domestic and international drug
trafficking and money laundering investigations related to criminal enterprises. I am authorized
by law or by a Government agency to engage in or supervise the prevention, detention,
investigation, or prosecution of violations of Federal criminal laws.

        As detailed below, the FBI, in partnership with other law enforcement agencies, is
conducting a criminal investigation of a drug trafficking organization that is selling and
distributing illicit narcotics, specifically pressed fentanyl pills, over darknet markets. With respect
to the sale of illicit narcotics over the darknet, the criminal organization accepts online orders,
receives payment in Bitcoin, and then mails the orders to the recipient via the United States Postal
Service.

        During the course of the investigation, law enforcement identified a vendor operating under
the name “PolarSprings,” who was active on a number of markets, including the Wall Street
Market and the Empire Market. On both markets, PolarSprings was selling pills pressed with
fentanyl. On the Empire Market alone, as of August 2020, PolarSprings listed that it had conducted
approximately 7,020 sales. Law enforcement conducted undercover purchases of pills from
PolarSprings from June of 2019, through August of 2020. Each of the packages containing the
pills were shipped in similar packaging. PolarSprings later resurfaced on three additional markets:
Icarus Market, Deep Sea Market, and ToRReZ Market. The advertisements on those markets
appear to be for pills that are similar to the pills that were advertised on Wall Street and Empire
Markets. As of February 5, 2021, PolarSprings had completed at least 411 sales on ToRReZ.

        During the course of the investigation, packages were shipped to the District of Columbia.

       After the Wall Street Market was taken down by law enforcement, the FBI was able to
recover data from the server. Included in these records were bitcoin addresses where vendors paid
vendor bonds and other fees to the market. The records related to the PolarSprings account
revealed the vendor bond for the account was paid on or about March 23, 2019, and an unspecified
fee was paid on March 27, 2019. The vendor bond fee was approximately $200. Law enforcement
tracing of these addresses revealed the fees were paid from the same Bitcoin wallet. Law
enforcement subsequently made contact with the individual connected to the Bitcoin wallet
connected to the fees (hereinafter “the Bitcoin Trader”). The Bitcoin Trader was interviewed and
agreed to provide information regarding the investigation as a Confidential Human Source (CHS
#1).1




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 CHS #1 has provided truthful and reliable information in the past. CHS #1 has not been promised anything in
exchange for its cooperation, but hopes to receive leniency regarding potential prosecution.

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        CHS #1 was provided with a photograph of ALEX OGANDO. CHS #1 recognized
OGANDO in the photograph as an individual he/she traded bitcoin with in the past. CHS #1
reviewed text messages which were saved in his/her telecommunication application regarding
bitcoin transactions that occurred on or about March 22, 2019, April 12, 2019, and April 27, 2019.
CHS #1 stated that those transactions occurred with the individual reflected in the photograph
(OGANDO). CHS #1 did not know OGANDO’s name. CHS #1 was able to recognize OGANDO,
as they had met in person on multiple occasions to engage in the transactions described above.

        Based on the timing of the March 2019 in-person meeting between OGANDO and the
Bitcoin Trader, and the subsequent transfer approximately five hours later from the Bitcoin
Trader’s wallet to pay for the PolarSprings’ vendor bond on Wall Street Market, it appears that the
transaction with OGANDO resulted in the payment for the PolarSprings vendor bond.

        Additionally, law enforcement has identified contacts between OGANDO and LUIS
SPENCER, and OLATUNJI DAWODU, who are suspected of selling pills on the darknet using
the vendor name “johncarter7.” Additionally, records from DAWODU’s iCloud refer to financial
transactions with OGANDO, as well as financial transactions with another individual (Individual
#1). Individual #1’s fingerprint was recovered on a PolarSprings package containing pills that had
been purchased from PolarSprings on Empire in May of 2020. Additionally, DAWODU received
a message from Individual #1 wherein Individual #1 messaged DAWODU a list of six addresses
labeled “Drops.” Research of five of those addresses revealed locations to USPS mailboxes or
U.S. Post Offices. The sixth address had a correct street for a post office location but reflected the
incorrect city. In my training and experience, individuals frequently drop packages containing
contraband at different blue boxes or post offices in order to evade detection by law enforcement.
In my training and experience, by varying the drop locations, narcotics traffickers make it more
difficult for law enforcement to identify a pattern of shipments that would assist law enforcement
in identifying the individual or individuals who are dropping the packages.

        On or about February 2, 2021, law enforcement obtained authorization for a pen
register/trap and trace (“PRTT”) device for a Verizon Fios account at OGANDO’s residence at
Felix Street, Apartment 2, Providence, Rhode Island. Law enforcement started receiving data from
the PRTT on or about February 4, 2021. A review of data collected from the PRTT revealed
approximately two connections between the IP address at the OGANDO residence and and TOR
relays from on or about February 4, 2021 and on or about February 6, 2021. Based on my training
and experience, connections with TOR relays indicate a user’s intent to conceal its user’s identities
and their online activity from surveillance and traffic analysis by separating identification and
routing. Such activity typically occurs when a user is accessing or attempting to access the dark
web – where the darknet markets described herein are accessed.

        Law enforcement obtained a search warrant for OGANDO’s residence in Providence
Rhode Island (21-SW-47-LDA). On February 23, 2021, the search warrant was executed at the
residence. OGANDO was present at the time that law enforcement made entry into his residence.
Law enforcement recovered a money counter and approximately $350,000 in U.S. currency in the
master bedroom of OGANDO’s residence, consistent with OGANDO’s involvement in the
narcotics trafficking described above. OGANDO’s residence is Apartment 2 in a three-unit
building owned by OGANDO’s girlfriend. When officers were executing the search warrant, the


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owner of the building advised that Apartment 3 (the apartment located on the third floor of the
building) was currently under construction. Law enforcement then conducted a protective sweep
of Apartment 3 to ensure the safety of law enforcement officers who were executing the warrant
in the apartment below. The door to Apartment 3 was open and unlocked. During the protective
sweep, law enforcement observed a number of items in plain view that were indicative of the drug
trafficking operation described herein. Specifically, officers observed USPS flat rate packaging
envelopes, latex gloves, a vacuum sealer, envelopes, and folded plates with a blue residue,
consistent with the color of pills that have been distributed during the course of the investigation.
Law enforcement obtained a second search warrant for Apartment 3, based on the evidence
observed in plain view during the protective sweep.

        During the execution of the search warrant at Apartment 3, law enforcement recovered a
large quantity of pressed blue pills (similar in appearance to those that were purchased during the
undercover buys from PolarSprings). The pills weighed approximately 1,770 grams and field
tested positive for the presence of fentanyl. Law enforcement also recovered a number of packages
containing pills that appeared prepared to be mailed out (in Priority Mail envelopes similar to those
used during the course of the investigation).

        Based on the foregoing, your affiant submits that there is probable cause to believe that
OGANDO violated 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C) which makes it a crime to knowingly
or intentionally possess with intent to distribute a controlled substance (a mixture and substance
containing a detectable amount of fentanyl).

        Your affiant has not provided every fact known to him during the investigation, but facts
sufficient to establish probable cause.

                                               _________________________________
                                               SPECIAL AGENT EVAN KALAHER
                                               FEDERAL BUREAU OF INVESTIGATION

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone,
 this 23rd day of February 2021.                                     2021.02.23
                                                                     15:35:59 -05'00'
                                                ___________________________________
                                                ZIA M. FARUQUI
                                                U.S. MAGISTRATE JUDGE




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